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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                     HAMMOND DIVISION AT LAFAYETTE

JAMES LARKIN,                            )
                                         )
      Plaintiff,                         )
                                         )
      v.                                 )       CASE NO. 4:18-cv-00065-JVB-JEM
                                         )
JEFFREY ARMSTRONG,                       )
MICHAEL BACH,                            )
CALVIN BRADFORD,                         )
EVIN EAKINS,                             )
ANDREW KRAUSE,                           )
TIM RYAN, and                            )
GEOFFREY TALBOT                          )
                                         )
      Defendants.                        )

                     Declaration of Lieutenant Evin Eakins
      I, Evin Eakins, am an adult competent to testify who has personal knowledge

of the following and declare under penalty of perjury:

      1.     On April 10, 2018, I was employed by the Indiana Department of

Correction as a Lieutenant at Westville Control Unit. I worked as the shift supervisor

for the Control Unit for the 6:00 a.m. to 6:00 p.m. shift.

      2.     That day, I assembled a cell extraction team for Offender Larkin because

he had assaulted an officer with an unknown liquid.

      3.     Throwing an unknown liquid on staff constitutes battery on staff. The

policy at the time dictated that whenever an offender threw an unknown liquid on

staff, the offender would be ordered to submit to mechanical restraints so that officers

could place the offender on “strip cell” status for 24 hours. Strip cell status meant

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removing all items from the offender’s cell that could be used to harm either himself

or staff. If an offender refused to submit to restraints, then a cell extraction team

would be assembled to remove the offender from his cell.

      4.        The purpose of placing an offender on strip cell status after throwing

unknown liquid on staff was twofold. First, it ensured that any item the offender

could use to collect and throw liquid got removed from the offender’s cell. Second, it

served as a corrective measure to deter the offender from assaulting staff with

unknown liquids again in the future.

      5.        Even if Offender Larkin’s cell had been shaken down for contraband

earlier in the day, strip cell status for Offender Larkin still would have been

warranted. Officers needed to remove any items that could be used to collect and

throw liquid.

      6.        As shift supervisor, I would read out the shift supervisor briefing in

what we call the “ready room,” where cell extraction teams meet prior to an extraction

to go over the protocol and plan. On camera, in the ready room, I read aloud the cell

extraction shift supervisor briefing. A true and accurate copy of the cell extraction

briefing for Offender Larkin’s extraction is attached as Exhibit A.

      7.        As the shift supervisor, policy dictated that I remain in a secure location

off the pod during emergency situations such as cell extractions. Should something

go wrong, like if the offender being extracted managed to physically overtake the

extraction team, I needed to be in a secure location to direct staff how to respond

accordingly.



                                              2

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      8.     While I do not recall with certainty where I was during Offender

Larkin’s cell extraction, I was likely in my office. I typically used my office as the

secure location, so that I could continue doing my job of running the Control Unit as

shift supervisor while the cell extraction took place.

      9.     I did not observe the cell extraction of Offender Larkin.

      10.    I also did not administer any of the three OC sprays that Larkin alleges

I administered.

      11.    Generally, an officer would administer OC spray if an offender refused

orders to submit to mechanical restraints in order to regain compliance and to ensure

facility and staff safety. As a part of the staggered escalation of use of force, one of

the extraction team members would have ordered Offender Larkin to submit to

mechanical restraints more than once in an attempt to gain compliance before

resorting to the cell extraction.

      12.    After receiving notice that an offender had been restrained, I would

leave the secure location to observe the team removing the offender from the pod. I

did this both to evaluate the offender’s condition and the extraction team members’

conditions. While I do not specifically recall Offender Larkin being removed from the

pod to go to decontamination, it is very possible that Offender Larkin saw me

watching him being removed from the pod and taken to the shower.

      13.    As a required part of the cell extraction protocol, an officer would record

all of the team’s actions in writing in case something happened with the video




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  recording. A true and accurate copy of the recorder's notes for Offender Larkin's cell

  extraction is attached as Exhibit B.

         14.   Furthermore, policy required that all cell extraction team members

  submit use of physical force reports following the administration of chemical agents

  like OC spray and the administration of physical force during a cell extraction. All

  cell extraction team members were required to submit use of physical reports to me

  for review and approval. I would then submit the reports to the Captain on duty. The

  use of physical force reports attached as Exhibit C are true and accurate copies of the

  use of physical force reports submitted following the cell extraction of OffenderT

  Larkin.



  I AFFIRM, UNDER PENALTIES OF PERJURY. THAT THE FOREGOING

  REPRESENTATIONS ARE TRUE AND CORRECT TO THE BEST OF MY

  KNOWLEDGE AND BELIEF.




  9-l-20o
  Date                                                 Evin Eakins




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                                             WESTVILLE CONTROL UNIT
                                             SHIH SUPERVISOR BRIEFING

 My name is L-T. _£{J..'f,,'l.sf:::,                , I am the       ~6AM-q PM            Shift. Supervisor.
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 in the camera.

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                                                                   0 Deploy water hose
                                                                   0 ·Deploy OC Chemical agent
 The reason for this-action is:                                .   0 Deploy ICE Shield
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  If the offender complies with the. ordert~ cuff up, he sh?ll be shaken down and placed in
. full medical medical restraints. His cell shall be stripped out of all property or it(lms harmful
  to himself orst!')ff.. The offender shall be placed in Cell: .f\1- to(g                                                                I
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· and given fresh clothing. If Ol:;is deployed, the Administrative Warning will be read to the offender.
      ..                   .    ~            .               .


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 submit "Use of Force" reports. Staff shaH not leave duty until the Shift Supervisor approves
 his/her reports.

·ltT(j\.)iS ti;ne, la·m going to ~urn this briefing over to the Team-Supervisor: S[r. ;:r: -~8~
  · ·3ase identify_ your team and dates: and proceed with this mission.




        Lt. Eakins Dec. Exhibit A                                                         Exhibit B Page 5 of 17
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                                       VVcSTviLLE CUNTROL UNiT
                                       CELL EXTRACTION RECODER NOTES                                                                   1
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